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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

UNITED STATES OF AMERICA            )
                                    )
Plaintiff,                          )
                                    )
vs.                                 )         CAUSE NO. 2:11-CR-170
                                    )
BRANDON EARL,                       )
                                    )
Defendant.                          )

                                    ORDER

      This   matter   is   before       the    Court   on    the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Brandon Earl (DE #103) filed on June 13, 2012.                          No

 objections have been filed to Magistrate Judge Cherry’s findings

 and recommendations upon a plea of guilty.            Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant Brandon Earl, and FINDS the Defendant guilty of

 Count 2 of the indictment.

      This matter is set for sentencing on September 27, 2012, at

 1:00 p.m.



 DATED: July 3, 2012                          /s/RUDY LOZANO, Judge
                                              United States District Court
